Filed 04/24/18                                                                     Case 18-22453                                                                            Doc 1


     United States Bankruptcy Court for the:
      Eastern                      District   of   California
                                                   (State)

     Case number      Utknown)                                             Chapter   11
                                                                                                                                                       E   Cnecr if this is an
                                                                                                                                                           amended filing




    Official Form 201
    Voluntary Petition for Non-lndividuals Filing for Bankruptcy                                                                                                      04t16

    lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
    number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-lndividuals, is available.



    r.   Debtor's name                                   ECS Refining, lnc



                                                         ECS Refining, LLC
    z. All other   names debtor used
         in the last I years                             ECS Refining Texas, LLC


         lnclude any assumed names,
         trade names, and doing busrness
         as names




    s.   Debtor's federal Employer                           82        3 3 4 6 286
         ldentification Number (ElN)


    ¿. Debtor's address                                 Principal place of business                                   Mailing address, if different from principal place
                                                                                                                      of business

                                                         2222           S. Sinclair Ave
                                                        Number          St¡'eet                                       Number      Street



                                                                                                                      P.O, Box

                                                         Stockton                         cA         95215
                                                        City                              State     ZIP Code          City                         State         ZIP Code


                                                                                                                      Location of principal assets, if different from
                                                                                                                      principal place of business
                                                         San Joaquin County
                                                        County
                                                                                                                      Number      Street




                                                                                                                      City                         State         ZIP Code




    s. Debtor's website          (URL)                   wrvw. ecsrefining.com



    e.   Type of debtor
                                                        E      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                        E      Partnership (excluding LLP)
                                                        E      Other. Specify:




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    Debtor
                      ECS Refining, lnc                                                                        Case number   (,r*nowù)_
                     Nâme



                                               A. Check one:
    z.     Describe debtor's business
                                               E Health Care Business (as defined in 1 1 U.S.C. S 101(274))
                                               E Singte Asset Real Estate (as defined in 1 U.S.C. S 101(518))
                                                                                                    1


                                               D Railroad (as defined in 11 U.S.C. S 101(44))
                                               E Stockbroker (as defined in 11 U.S.C. S 101(53A))
                                               fl Commodity Broker (as defined in 1 U.S.C. S 101(6))
                                                                                             1


                                               E Clearing Bank (as defined in 11 U.S.C. S 781(3))
                                               E None ofthe above

                                               B. Check all that apply:

                                               E    Tax-exempt ent¡ty (as described in 26 U.S.C. $ 501)
                                               E    lnvestment company, including hedge fund or pooled ¡nvestment vehicle (as defined in 15 U.S.C.
                                                    S B0a-3)
                                               E    lnvestment advisor (as defined in 15 U.S.C. S 8Ob-2(aX11))


                                               C. NAICS (North American lndustry Classification System) 4-digit code that best describes debtor. See
                                                    http://www,uscoL¡rts-ctov/four-...d-igi!-níìtional-asso-cietion-nnics-cÕdes.

                                                    -5l_9 I
    s.     Under which chapter of the          Check one:
           Bankruptcy Code is the
           debtor filing?                      E    Chapter z
                                               E    Chapter 9
                                               El   Chapter 11. Check atl that appty.
                                                                      E    Debto/s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                           insiders or affiliates) are less ihan $2,566,050 (amount subject to adjustment on
                                                                           4101119 and every 3 years after that).

                                                                      E    fne debtor is a small business debtoras defined in 11 U.S.C.   S 101(51D). If the
                                                                           debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                           of operations, cash-flow statement, and federal income tax return or if all of these
                                                                           documents do not exisi, follow the procedure in 11 U.S.C. S 1116(1XB).

                                                                      [J   R ptan is being filed with this petition.

                                                                      D    Acceptances of the plan were solicited prepetition from one or more classes of
                                                                           creditors, in accordance with 1 1 U.S.C. S 1126(b).

                                                                      Q    fne debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                           Securities and Exchange Commission according to $ 13 or 15(d) of the Securities
                                                                           Exchange Act of 1 934. File the Atfâchrn ent to Voluntary Petition for Non-lndividuals Filing
                                                                           for Bankruptcy under Chapter 11 (Official Form 2014) with this form.

                                                                      B    tne debtor is a shell company as defined          in the Securities Exchange Act of 1934 Rule
                                                                           12b-2.
                                               E    Chapter 12

    e. Were prior bankruptcy cases             B r.,¡o
           filed by or against the debtor
           within the last I years?            E Yes.      o¡str¡ct                                     When                       Case number
                                                                                                               MM/ DD/YYYY
           lf more than 2 cases, attach a
                                                           Distr¡ct                                     When                       Case number
           separate list.
                                                                                                               MM/ DD/YYYY

     10.   Are any bankruptcy cases            Eruo
           pending or being filed by a
           business partner or an              I    ves.   Debtor                                                                  Relationship

           affiliate of the debtor?                        D¡str¡ct                                                                When

           List all cases. lf more than   1,
                                                                                                                                                  MM   / DD   /YYYY
           attach a separate list.                         Case number, if known


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    Debtor             ECS Refining, lnc                                                                 Case number




    11.    Why is the case filed in fhis   Check all that apply:
           district?
                                           B   Debtor has had its domicile, principal place of business, or principal assets in this districi for 180 days
                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           E   A bankruptcy case concerning debtof s affiliate, general partner, or partnership is pending in this district.


    12.    Does the debtor own or have   E     tlo
           possess¡on of any real        E     Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
           property or personal property
          that needs immediate                        Why does the property need immediate attention? (Check ail that         apply.)
          attention?
                                                      fl   lt poses or is alleged to pose a threat of immineni and identifiable hazard to public health or safety
                                                           What is the hazard?

                                                      E    lt needs to be physically secured or protected from the weather.

                                                      E    lt includes perishable goods or assets that could quickly deteriorate or lose value wiihout
                                                           attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                           assets or other options).

                                                      fl   oth.,


                                                      Where is the propeÉy?
                                                                                      Number            Street




                                                                                   City                                            State      ZIP Code



                                                      ls the property insured?

                                                      Druo
                                                      E    Yes. lnsurance agency

                                                                Contact name


                                                                Phone




                  Statistical and administrative information


     13.   Debtor's estimation of          Check one:
           available funds                 E   Funds will be available for distribution to unsecured creditors.
                                           E   nfter any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                           E   r-¿s                              E     r,ooo-s,ooo                        E   zs,oot-so,ooo
     14.   Estimated number of             Q   so-sg                             fl    s,oor -r o,ooo                     E   so,oor-too,ooo
           creditors                                                             E                                        E
                                           E roo-rss                                   ro,oor-zs,ooo                          More than 100,000
                                           E zoo-gge
                                           E   $o-$so,ooo                        E     $r ,ooo,oor -$10 miuion            E   $soo,ooo,oo1-91 bilion
     ts. Estimated assets                  E   $so,oor-$roo,ooo                  E     $to,ooo,oo1-$50 milion             E   $r ,ooo,ooo,oo1-g1o bilion
                                           E   $roo,oor-$soo,ooo                 E     $so,ooo,oo1 -g1 oo miilion         O   $t o,ooo,ooo,oo1 -$so bilion
                                           E   $soo,oot-$1 miltion               E     $roo,ooo,ool-$5oo miilion          E   More than $50 billion




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       Debtor         ECS Refining, lnc
                                                                                                               Case number (r
                      Nánìe




       16. Ë,st¡mated    liabitifies
                                                  ü $o-$so,ooo                           E    $r,ooo,oor -$10 mirrion                    ü    $soo,ooo,oo1-$1 birion
                                                  E    $so,oor-$roo,ooo                  &    $r o,ooo,oor-$bo mitt¡on                   ü    $r,ooo,ooo,oo1-gio bitrìon
                                                  E    $roo,oor-$ooo,ooo                 E    $so,ooo,oor-$l 00 rrritfion                f!   $lo,ooo,ooo,oo1-$50 birion
                                                  E    $soo,oot-$t m¡ttion               fl   $r oo,ooo,ool -$5oo míttion                Ü    More thân $50 billion




                  Request for Re!r-ef, ÐeËlðraÉiosr, and $EgmaÉures


       WARh¡¡NG   *    Bankruptcy fraud ¡s â serÍous crime- Making a fâlsê stâtement in connection with a bankruptcy case can result in fines up to
                       $S00,000orimprisonmentforupto20years,orboth.                    1BU.S.C.SS1SZ, 1341,1519,and3571.


       tz. Declaration and signature of
           a uthori¿ed representative of
                                                 ø      The debtor requests relief in accordance w¡th the chapter of title f 1, Uniled States Code, specifìed in this
                                                        pelit¡on.
           dehtor

                                                 El     I have been authorized 1o file thìs petition on behalf of the debtor,


                                                 Ø      I have examined the informâtion ¡n thìs petition and have           a reasonable belief that the informatron     is true and
                                                        coftect-


                                                 I   declare under penalty of perjury that the foregoing       ¡s   true and correct.
                                                                            it
                                                       Execured on    q4-jryi,nql
                                                                       MM        DÞ/
                                                                                         &
                                                  {d
                                                  &                                                                       Jack Rockwood
                                                       Signâture     author¡zed represenlative of debtor                 Prinled name

                                                       ïitle




       ta. $ignature of attorney                  K                                                                      Date
                                                                                                                                        '{ /as     /zør/
                                                                                                                                     MM       /ÐD /YYYY


                                                        Michael B. Reynolds
                                                               name
                                                       Snell & Wilmer L.L.P
                                                       l-irm nanìe
                                                       600             Anlon Blvd., Suite 1400
                                                       Nurnber         Street
                                                       Costa Mesa                                                             CA               s2626
                                                       CilY                                                                  State            ZIP Code

                                                       714^427,7414                                                             mreynolds@swlaw.com
                                                       Contacl phone                                                         Email address



                                                        174534                                                                CA
                                                       Bar number                                                            Statê




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      Fill in this information to identify the case:

      Debtor name ECS Refining, Inc.

      United States Bankruptcy Court for the: Eastern                    District of California

      Case number (If known):
                                                                                    (State)
                                                                                                                                                 Check if this is an
                                                                                                                                                    amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                        12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete             Name, telephone number, and        Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code       email address of creditor          (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               contact                            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                  professional          unliquidated,   total claim amount and deduction for value of
                                                                                  services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                  government
                                                                                  contracts)
                                                                                                                        Total claim, if Deduction       Unsecured
                                                                                                                        partially       value of        claim
                                                                                                                        secured         collateral or
                                                                                                                                        setoff

     ZS ECS LP
   1 1133 Avenue of the Americas                                                     Investments                                                         $1,410,329.67
     New York, NY 10036

     Wal-Mart Stores East, LP
     702 SW 8th Street
   2 Dept. 13-9192 MS 0710-L19,                                                    Revenue Share                                                          $811,384.59
     Bentonville, AR 72712

     Applied Underwriters
                                                                                      Worker’s
   3 P.O. Box 3646                                                                                                                                        $666,442.70
                                                                                    Compensation
     Omaha, NE 879215
     CSAA Insurance Group
     3055 Oak Rd, 5th Fl                                Kevin Childs,                 Settlement
   4                                                    925-279-5119                   Charges                                                            $274,944.47
     Mail Stop #W580,
     Walnut Creek, PA 19380
     Yusen Logistics Inc.,
                                                         Pat Collens,
   5 Dept. AT 952154,                                                                 Trade Debt                                                          $147,633.65
                                                        901-791-3058
     Atlanta, GA 31192

     Caglia Environmental Group
     Fairmead Landfill                                  Justin Raymond                Settlement
   6 P.O. Box 310                                        559-665-7300                  Charges                                                             $85,305.21
     Chowchilla, CA 93610

     Red River Logistics
   7 P.O. Box 1259                                                                    Trade Debt                                                           $65,934.95
     Keller, TX 76248

     USA Management Systems, Inc.
   8 P.O. Box 2772                                      1-800-937-5634                Trade Debt                                                           $53,893.00
     Lodi, CA 95241

    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                        page 1
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               ECS
    Debtor    Refining,                                                                                                Case number (if known)
                Inc.




      Name of creditor and complete        Name, telephone number, and   Nature of the claim Indicate if                Amount of unsecured claim
     mailing address, including zip code     email address of creditor   (for example, trade    claim is   If the claim is fully unsecured, fill in only unsecured
                                                      contact             debts, bank loans,  contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional    unliquidated,     total claim amount and deduction for value of
                                                                            services, and     or disputed    collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                              contracts)
                                                                                                               Total claim, if       Deduction      Unsecured
                                                                                                                 partially          for value of      claim
                                                                                                                 secured             collateral
                                                                                                                                      or setoff

     Fleet Concepts Inc.
   9 P.O. Box 23128                               800-933-5338              Trade Debt                                                             $50,882.64
     Tigard, OR 97281
     Freight Logistics, Inc.
   10 1950 S. Rosemary St.                                                  Trade Debt                                                             $44,816.05
     Denver, CO 80231
     Uline Shipping Supplies
   11 P.O. Box 88741                                                        Trade Debt                                                             $43,024.52
     Chicago, IL 60680
      Staffmark Investment LLC
   12 P.O. Box 952386                                                    Staffing Services                                                         $38,894.62
      St. Louis, MO 63195

     Hedy Company Inc.
   13 P.O. Box 100375                                                    Staffing Services                                                         $35,629.47
     Pasadena, CA 91189

      Integra Supply, LLC,
   14 13489 SE Johnson Rd.,                                                 Trade Debt                                                             $27,812.00
      Portland, OR 97222

     Allied Universal Security Service
   15 P.O. Box 31001-2374                                                   Trade Debt                                                             $27,213.72
     Pasadena, CA 91110

     US Ecology
                                                                             Settlement
   16 P.O. Box 578                                                            Charges                                                              $24,783.00
     Beatty, NV 89003
     Yusen Logistics (Americas) Inc.
   17 1501 N Plano Rd., Ste 100                                             Trade Debt                                                             $23,203.17
     Richardson, TX 47203

      Northwest Propane Gas Co.
   18 1515 W Beltline Rd.                                                   Trade Debt                                                             $18,318.50
      Carrolton, TX 75006

     UniFirst Corporation
   19 819 N. Hunter St.                                                     Trade Debt                                                             $17,555.77
     Stockton, CA 95202

     Skyline Building Care, Inc.
   20 1966 Tice Valley Blvd.                                                Trade Debt                                                             $17,512.00
     Walnut Creek CA 94595




    Official Form 204          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 2
